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UNITED STATES DISTRICT COURT

DISTRICT OF MASSACHUSETTS

Michael Sean Speight

V. Civil No. 1:24-cv-12363
Chief Judge Patti B. Saris

Amanda Kaelblein
Michael Kaelblein

Nancy Kaelblein
Eric Stephan(Professional, individual capacity)

MEMORANDUM TO SUPPORT OF PLAINTIFF’S OBJECTION

OF MOTION TO DISMISS FILED BY ERIC STEPHAN.MOTION TO

LEAVE GRANTED ON DECEMBER 18, 2024 #87

This case is critically important because it expresses the harmful
collaboration between state actors and private individuals who
weaponize the legal system for state incentives, undermining the core
protections guaranteed under the Fourteenth Amendment, including
equal protection and due process.

The misuse of legal processes, such as forum shopping for child support
and manipulating custody proceedings, directly contradicts the principles

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outlined in Uniform Child Custody J

(UCCJEA), Parental Kidnappin

-state jurisdiction laws.

enacted precisely to
sure that custody dis

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These statutes were
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In this Case, state ac
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system, prolonging separ ghts of a parent and a

nths, harms that continuing ongoing.

child for 28 mo
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d irreparable harm to my fa

Such actions not only cause
untless other parents,

a dangerous precedent that could impact co

children, and families.
n is essential to hold those resp

al safeguards, and prevent the

Federal interventio onsible accountable,

ensure compliance with these feder
ystem from continuing to harm families nationwide.

misuse of the legals
ed for oversight to protect families

This case underscores the urgent ne

from being subjected to similar injustices in the future.

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INTRODUCTION
The Attorney General here attempts to shift blame on Judge George
Phelan, who was named in the original complaint.
Liability under 1983 does not require direct action but extends to any
individual who “causes” the deprivation of rights.
In the First Circuit, causation is a key factor in 1983 liability.
Martinez v. Cui,608 F.3d 54, 64 (1st Cir. 2010):” [S]ection 1983 imposes
liability on anyone who, under color of state law, subjects, or causes to
be subjected,’ an individual to deprivation of federal rights.” The DOR
lawyer Eric Stephan, and private individuals.
As far as Judge George Phelan, based on the statements and evidence
submitted by the AG, Judge George Phelan should be reinstated to the
complaint, so now one escapes accountability.
Stump v. Sparkman, 435 U.S. 349, 365-57 (1978), Judicial immunity
does not apply if a judge acts outside their judicial capacity or in the

complete absence of jurisdiction.

Judge Phelan was aware of New Hampshire proceedings and still

issued an order that he was outside all jurisdiction and should be added

as a defendant. Mireles v. Waco, 502 U.S. 9,11-12 (1991) , Judges

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immunity for action within thei jurisdiction..even @ improper, but not
actions taken in the clear absence of jurisdiction.

Custody of Brandon, 407 Mass. 15-6 (1990), Vassachusens Courts

recognize and defer to other states’ jurisdiction under UCCJEA. and
PKPA.

Defendant arques, inter alia, that

1. DOR lawyer Eric Stephan should not be held accountabie because

he did not sign or issue the order.
2. The Younger abstention . Rooker-Feléman cocrine, Elevenn

Amendment immunty. sovereign mmunity, prosecutonal mmunty,

and subject matter jurisdiction. are not

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. Plaineff disputes hese arguments and as

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under color of state law, influenced or filled Out the order and
gave it to Judge Phelan to issue a child Support order,
despite the ongoing jurisdictional case in New Hampshire
(where Amanda Kaelblein had already once tried to have it
dismissed and moved to Massachusetts and failed Exhibit 1)
which violated the UCCJEA, PKPA, and TITLE IV-D
guidelines.

. Eric Stephan conspired with a private individual (Amanda
Kaelblein the minor child's mother) to suppress key evidence
and misrepresent facts during the proceedings.

See Exhibit 2 Massachusetts transcripts November 3, 2022
Hearing. Speaking in zoom hearing.
Page 13 Lines 15-17

MS. KAELBLEIN “ Judge, my only question is, | mean, I—we

recently separated, so | have been with him the last five

years.”
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Page 16 Lines 1-3
MS. KAELBLEIN “Unfortunately , none of this is accurate just

because | know his income obviously based on the last five

years.”

Page 30 Line 13

Ms.KAELBLEIN “I've been back since May.”

Here Ms. Kaelblein admits the minor child has been back in

the state of Massachusetts since May 28,2022. When she

and the minor child left 153 North Shore Rd. Derry, Nh after

living there a year.

The minor child only resided in Massachusetts five months at

this time. A violation of UCCJEA, PKPA, and Massachusetts

custody laws.This hearing should have ended with this

evidence, Massachusetts lacked jurisdiction.

Page 17 Lines Lines 3-8

MR. SPEIGHT " \ didnt—-| didnt say that, your Honor. What |

said is, it's a child state law, home state law. The child has to
any—- anything can be

live in the state Six months before

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tiled, Also, Dery Family District Court already ruled they have

jurisdiction over this case, Stephan knows that. My lawyer

talked to Stephan,"

Here the Plaintiff makes the Court aware Derry family Court is

exercising jurisdiction.

Plaintiff, also states attorney Michael Ryan spoke with

Stephan and told him there was a ongoing child

Supporticustody case ongoing in New Hampshire (Michael
Ryan will testify what he did exactly tell Stephan)
Page 18 Lines 23-24
THE COURT “All right.So, Amanda, did Michael file a case
involving custody and child support regarding this —”
Page 18 Line 25
MS. KAELBLEIN “He did”
Here Amanda Kaelblein admits there is an ongoing case in
New Hampshire.
Page 19 Lines 17-18
MS. KAELBLEIN “lam aware ofa hearing that involves—

involves child custody, not support”

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Here Amanda Kaelblein starts misleading Judge George

Phelan. Amanda states she does not have the Parenting

Petition filed in Derry Family Court, NH

Page 21 lines 21-25
MR.SPEIGHT “ It says Temporary Petition, request the Court
Order Temporary Petition, respectfully request the Court to
issue temporary orders of the following issue.Final, the
petition respectfully requests the Court to issue final orders
approving and establishing the following, check if they apply.

Continue Page 22 Lines 1-8

A parenting plan which describes parties parental rights and
responsibilities where related to the minor child.:child support
obligations for minor child:and other custody.| acknowledge
and have continued duty to inform the Court, any Court
Action in this, and any other state that could affect the child's
case. | Swear that the full bearing information is true and
correct to the best of my knowledge . New Hampshire,
Rockingham County, June 3rd."See exhibit 3 parenting

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petition from Derry Family Court filed June 3, 2022.( child
support box checked)
Over a zoom Call the Plaintiff reads the Parenting Petition
filed June 3rd, 2022 in New Hampshire , from Derry Family
Court. Reading the child support box was checked off.
Page 22 Line 25
MR. STEPHASN “Let me check Judge. I've— I've spoken to
Continue 23 Lines 1-9
The defendant's attorney who represents him in this case in
New Hampshire. He filed the complaint for parenting time in New
Hampshire. And | went over this with his attorney. | had several
conversations with him. Child Support was not plead in New
Hampshire. That's why we are moving forward in
Massachusetts. But | have spoken to his attorney about this at
length, and he did not plead to the Court to enter a child support
order against him in New Hampshire.Thats why we filed in
Massachusetts. See exhibit 4 Michael Ryan motion for

parenting time and child support August 1, 2022.

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Page 23 Lines 10-11
THE COURT “ So Michael, attorney Stephan says that you
didn't mark the box that says child support.”
The Plaintiff read off New Hampshire's parenting petition
where the child support box was checked off.
Stephan along with the other Defendant misrepresented facts
that subjected the constitutional rights violation to Phelan.

Page 23 Lines 17- 20

THE COURT “I'm going to need a copy from New Hampshire

Court of the document that was actually filed by Michael to
see whether he actually checked the box that says child
support"

Page 24 Lines 9-10
THE COURT “I need you to get a copy of that filing in New
Hampshire”

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Page 27 Lines 23-25
THE COURT “In the meantime, | arn going to as’ Attorney
Stephan to get that copy of the—-of the New Harnpenwe fling
to see whether the child support box was marked or not”
Here, Judge Phelan Requests the parenting petition frorn
Stephan three times. Stephen received the parentnig petton
from Plaintiff through email , on November 18, 2022 and
never gave it to Judge Phelan.
Page 28 Lines 5-7
MR. STEPHEN “ If your Honor—if your Honor wanted to enter
an order today for $228 a week and suspended wage

assignment, that means he pays her directly .

Page 28 Lines 16-17

MR. STEPHAN “ There would be a court order in Dace. Sut t

would be anon 4D case.”

-

All parties involved:led agreed on this, that woud rea

Phelan would have me to get a parenung petuen from Mew

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Hampshire and Massachuseets would not have jurisdiction
When he saw the child support box was checked off.
Either Judge Phelan placed the order with no signature, or
Stephan placed the order.
LEGAL STANDARD
ARGUMENT
1. There needs to be a trial to see who actually placed the order.
Even though it does not matter who did since the AG tried to

place accountability on Phelan, both under the law should be

held accountable

The Defendant Stephans actions violated Plaintiffs

rights,regardless of whether Stephan directly placed the order or
manipulated the process to convince the judge to do so.
Martinez v, Cui, 608 F.3d 54, 64 (1st Cir. 2010), “[SJection 1983

imposes liability on anyone who, under color of state law, subjects,

or Causes to be subjected,’ an individual to depriv

ation of federal
rights.”

Hafer v. Melo, 502 U.S 21 (1991),” State officials can be sued in

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their personal capacity for actions taken under color of state law
that violated constitutional rights.”
Burke v. Rhode Island,935 F.Supp.2d 105(D.R.1.2013),
“A federal court addressed claims of due process violations state
officials who acted improperly in family court proceedings”

As far as the AG placing responsibility on Judge Phelan, the Court
should direct the plaintiff to amend the complaint to add his name
as a defendant for abuse of discretion, violation of due

process, violation of equal protection, judicial misconduct, and

violations under federal law Title IV-D.

Phelan entered an order inconsistent with agreed-upon terms
without proper justification.

Pierce v. Underwood, 487 U.S.552, 558 (1988),"Abuse of
discretion occurs when a court makes a Clear error in judgement
or exceeds the bounds of reason.”

Rosenthal v. O'Brien, 628 F. Supp.2d 768,775 (D. Mass. 2009) “A
judge abuses their discretion by disregarding agreed-upon facts
and entering an order that is unreasonable or contrary to the law.

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Phelan violation of Plaintiffs due process.

Fuentes v. Shevin, 407 U.S. 67,80 (1972) “The state cannot act
without affording affected parties an opportunity to challenge
decisions affecting their rights.”
Phelans equal protection violations.
Village of Willowbrook v. Olech, 528 U.S. 562, 564 (2000),"The
Equal Protection Clause prohibits arbitrary treatment that affects
individuals unfairly.”
Phelans violation under federal law Title IV-D
Wilder v. Virginia Hosp. Ass'n,496 U.S. 498,509 (1990) “ Federal
funding conditions impose enforceable obligations on states”
2. Why Rooker-Feldman Doctrine, and Younger abstention
doctrine do not apply to this claim.
The Rooker —Feldman doctrine prevents federal courts from acting
as appellate courts to review or Overturn final state court
judgements.
The Plaintiff here is not Seeking to overturn a vacated judgement,
The Plaintiff claim is constitutional violation during that judgement.

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Supreme Court Guidance:Exxon Mobil Corp. v. Saudi Basic Indus.

Corp,544 U.S. 280,293 (2005) “Rooker—-Feldman does not bar

Claims that seek independent relief, even if they are related to State

court judgement.”

The Younger abstention is inappropriate in this case because none
of the criteria for Younger are met.There is NO Ongoing state case
when the order was vacated, it can't implicate an important state
interest and federal claims cannot be adequately addressed in state
court.

Younger v. Harris, 401 U.S. 37,54 (1971),” Federal courts may

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intervene if state actions are motivated by bad faith.

Esso Standard oil Co. v. Lopez-Freytes, 522 F.2d 136, 143 (1st

Cir.2008),” The First Circuit recognized that bad faith undermines

the rationale for Younger abstention”

While family law matters, including child support, generally

implicate state interests , those interests are Not sufficient to justify

abstention when the state proceeding has already concluded and
the order we are talking about has been vacated which failed to
protect federal rights.

In Rossi v. Gemma, 489 F.3d 26, 34 (1st Cir. 2007), “The First
Circuit held that Younger does not apply when state proceedings
have ended, and federal claims are independent of those
proceedings”

in this case the Plaintiff has raised federal constitutional claims.

In Ex parte Young,209 U.S.123 (1 908) This case established the
doctrine allowing individuals to seek relief against state olficials
who acted unconstitutionally, Sovereign immunity does not shield
them in such cases.this is in there official capacity for injunctive

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relief.

3. Defendant is Not Entitled to Sovereign or Prosecutorial
Immunity,
The Defendant misapplies Eleventh Amendment immunity.
Federal law is clear that state officials acting in violation of federal
laws are not protected by sovereign immunity.
See Ex parte Young,209 U.S. 123, 159-60 (1908),” state officials can be
sued in federal court for prospective injunctive relief to remedy ongoing
violation of federal law"
Furthermore, in Vaqueria Tres Monjitas, Inc. v. Irizarry, 587 F.3d 464, 477
(1st Cir. 2009 ),” the First Circuit Court affirmed that federal courts retain

jurisdiction to hear claims against state officials who act beyond their

lawful authority.

Here, the Defendant acted beyond their lawful authority by violating
Plaintiff's constitutional rights and federal statutes.

Prosecutorial immunity protects actions taken in the course of
prosecutorial functions, not administrative or policymaking functions, See
Burns v. Reed, 500 U.s. 478, 494-96(1991).

The Defendants actions— manipulating court orders and advocating for

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improper enforcement- were administrative, not prosecutorial,
in Goldstien v. Galvin, 719 F.3d 16, 26 (1st Cir, 2013 ), “the First Circuit
held that immunity does not extend to state officials acting in

non-prosecutorial capacities.”

The Defendant may be sued in his individual capacity all his tasks in
DOR are administrative, not prosecutorial.

4. This Court Does Have Subject Matter Jurisdiction .

This is a Diversity of Citizenship claim under 28 U.S.C, 1332. Plainut
lives in New Hampshire and all the four Defendants reside in
Massachusetts.

There are also constitutional questions in this claim 28 U.S.C.1331.

The Plaintiff's claim involves violations of federal statutes and

constitutional rights, including: Uniform Child Custody Jurisdiction and

Enforcement Act, as adopted federally .

Parental Kidnapping Prevention Act, 28 U.S.C. 1738A

Fourteenth Amendment violation (Actions which caused violation of
parental rights)

Grable & Sons Metal Products, Inc. v. Darue Engineering &
Manufacturing, 545 U.S. 308 (2005), “Federal jurisdiction is proper when

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a claim “necessarily raises a stated federal issue, actually disputed and
substantial, which a federal forum may entertain without disturbing any
congressionally approved balance of federal and state judicial
responsibilities.”

Thompson v. Thompson, 484 U.S. 174 (1988), “PKPA explicitly creates
federal oversight to prevent jurisdictional disputes and constitutional
violations in custody and support orders.”

B.S. v. Somerset County, 704 F.3d 250,271 (3rd Cir. 2013), “Federal
courts have jurisdiction to protect parental rights under 1983 when state
actors interfere with constitutional rights.”

Middleton v. Middleton, 227 Va. 82 (1984),”"Federal oversight is

necessary when states fail to adhere to UCCJEA or PKPA requirements

for determining jurisdiction.”

5. The Plaintiff Does State a Claim Against Eric Stephan (and
Amanda Kaelblein) By Showing In FACTUAL BACKGROUND How
They Worked Together By Misleading Phelan, and Misrepresenting
The Truth.

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Their actions, Characterized hy UShOnesty are MANILA NALOt, te" Oty

infringe UPON due PlOCOess, QUAL protection AiQHIS Hit alee Mt Niaths lectlect ag
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Oversight required Under Tithe Vf).

The AG Now After LO months in federal court warts mitt

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Shield Stephan,

Massachusetts Child Support t ntorcoment DIVIAION Fricedures

“The DOR operates under Mle IVD of the Gacial AMY AON aioe

outlines child support ENfOICE mont. Procedurally, Nt Mat sat tutes

“Altera court hearing. the DOK Submits the Ofalted order ty cour’

“The judge reviews it for MCCUIACY and Compliance wth legal

“The » ejge OUO0S Vath tne Cours fubog
So, here Stephan drafted the OFT, WHICH Was NOt agretd upon ie tyun
Supposedly gave the orderto Phelan to FEVER ATI “ueyri

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The order wasn't signed , we don't know who placed the order In,

and the case should not be dismissed and needs to continue and

discover whether it was Stephan or Pholan .

This caused the Plaintiff and minor child to be separated for 28
months, One constitutional violation led to many others. We do

know Stephans actions closed the case in New Hampshire causing

irreparable harm and continues today.

Dept. of Revenue v. Mason M., 50 Mas. App. Ct. 216 (2000),"The court

highlights that child support orders, even prepared by the DOR, must be

judicially approved to protect due process rights. This reinforces the

requirement of a judge's signature after a hearing.”

Doe v. Roe, 23 Mass. App. Ct. 590 (1987), “this case confirmed that

administrative actions taken by the DOR are not final until a judge ratifies
them.”

The Plaintiff has stated and shown a constitutional claim , with violations

of federal statute.
First Circuit Precedent:Coyne v. City of Somerville, 972 F.3d 440, 444
(1st Cir. 1992), “A claim alleging intentional misconduct or bad faith

survives a motion to dismiss where plausible facts are alleged.”

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Bowie v. Arder, 441 Mass.43 (2004),Massachusetts courts are bound to
follow federal standards under PKPA when issuing support or custody
orders “

Stephan’s action Deprived the Plaintiff of his right's. Pittsley v. Warish,
927 F.2d 3,8 (1st Cir. 1991)” Misrepresentation by state actors that
deprives an individual of a fair hearing can constitute a due process
violation.”

CONCLUSION

The Plaintiff has provided sufficient factual allegations against the
defendant. This Court has subject matter jurisdiction, Younger and
Rooker- Feldman does not apply to a vacated order, The defendant
does nothave 11 Eleventh Amendmentimmunity , The Defendant's

tasks are administrative , not prosecutorial . So it doesn't apply.

it does not matter that Stephan Vacated the order, It Violated the
constitutional rights, and All Defendants should be held accountable.
The Defendant's motion to be dismissed should be denied, and the case

should move forward.

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Respectully Submitted,

— \ ot

Michael Sean Speigh
1S Ingham Rd.
Merrimack, NH O305

Pie yepnatt | City youth

(078) 684-2496

| certify that a correct copy of this motion was served to Amanda
Kaelblein through Attorney Alethea Shaddox, and all ECE registered
participants , Eric Martignetti through email also,

| certify that copies of this motion were senton December 15 2024
ina Court hearing,

Michael Sean Speight
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